Case 1:22-cv-11550-ADB Document9 Filed 09/30/22 Page 1 of 2

Mr. Derrick Lee Cardello-Srith

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Tonia Correctionol facility
1575 Wl. Plyueliqter Highligy
Tonia, MT &R&R4s

Septerber Ph, 29999

Office of the Clerl.S Ristrict Court-80ston
1 Courthouse Way
Boston, M4 92270

Re; Alianza Anwericas v. Ronald Nesantis, et ol
Case No 1:??-cv-11559

Neor Clark: -

=nclosed for filing ore the folloliing docunents "hich T an asking
are placed on t''e court record:

NOTICE OF INTENT TO FILE A PUAINTIFF DERRICK LEE CARDELLC-
#257000 AND PROBARLE CAUSE CONFERENCE LITIGATOR NOTICE OF
TO FILE AN AMICUS RRTES ON THE CASE AT RAR REGARNING MTGRAN

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Case 1:22-cv-11550-ADB Document 9 Filed 09/30/22 Page 2 of 2

UNTTED STATES DISTRICT COURT. so
FOR THE NISTRICT COURT OF MASSACHUSETTS (ROSTON)
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DERRICK LEE CARDELILO-SMITH, #67000
PRORABL'E CAUSE CONFERENCE L'TTTGATOR,

Plaintiff (s) Case No 1;72-cv-11559
vs HONOR ARLE - 'TSON , BURROUGHS
Aes AMFRICAS, et al 1S. NISTRICT JUDGE

20N RSANTTS, Florico Sovernor et al,
Nefendants et al,
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NOTICE OF INTENT TO FILE A
PUATNTISE DERRICK LEE eee: AND
PROBARLE CAUSE CONFERENCE LITIGATOR’s NOTICE
OF INTENT TO FILE AN AMTCUS BRIEF ON
THE cae “AT RAR REGARDING MIGRANTS 2 PRORARLIE CAUSE

 

Plegse take notice tlot tlle Plaintiffs sy and throuch DERFICK LEE CARDELLO-
SMITH, #257009, PRORARLE CAUSE CONFERENCE LTTIGATOR, ET AL lioes intenli to file
an AMTCUS RRIEF RELATED TO THE MIGRANT ISSUE ond Nill co so bly Filing it in
this honoralile court as an AMICUS BRIEF CHALMIENTNG RONALD DESANT]S’s PROBABLE
CAUSE TO TRANSPORT THE MIGRANTS IN THTS CASE, and gq] include a 'rief to soid
parties onl! will do so in the anount of tite scheduled an!! qliolied unllar the
Federal 2ules of Civil ani Appellate Proredure 17 and 29,

This concludes the Plaintiffs Notice of Intent.

PRONE OF SERVICE
T sllegr ond ceclore that I cid toil one copy of this pleading to qi the

cefendonts and tleir counsel or record by placing said oleadings in tlle 1.5.
Mail for delivery on Septerber 24, 2922 in Tonia, MI 48846,

   
   

      

| aerich Mae Corcello-Srit
*Fordlite Caulle conference Liticator
257009 |
Trox-1575 W. Bluewater Highliny
Tonia, MT Hens
